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       AFFIDAVIT OF SPECIAL AGENT BRIAN P. HIGGINS IN SUPPORT OF
                         CRIMINAL COMPLAINT


       I, Brian P. Higgins, Special Agent, Bureau of Alcohol, Tobacco, Firearms & Explosives,

being duly sworn, depose and state as follows:


                     INTRODUCTION AND AGENT BACKGROUND

       1.      I have been employed as a Special Agent with the Bureau of Alcohol, Tobacco,

Firearms and Explosives (“ATF”), United States Department of Justice, and have been so

employed since 2009. I am responsible for investigating violations of the federal firearms laws. I

am presently assigned to the South Eastern Massachusetts Gang Task Force and specifically

focus on crimes of violence perpetrated by: felons and otherwise prohibited persons who

illegally possess and/or purchase firearms, criminal organizations, and gangs and narcotics-

trafficking groups in urban areas plagued by crime.

       2.      I submit this affidavit in support of a criminal complaint charging JUSTIN F.

WATSON (“WATSON”) for false statements during the purchase of firearms, in violation of 18

U.S.C § 922(a)(6). This Affidavit is based on my own personal observations as well as

information provided to me by other federal and local law enforcement officers. This Affidavit is

submitted for the limited purpose of establishing probable cause to believe that WATSON

committed the above described offense. Accordingly, I have not included each and every fact

known to me and other law enforcement officers involved in this investigation.
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                          BACKGROUND OF INVESTIGATION

       3.      WATSON was an Institutional Security Officer III / Campus Police Dispatcher

with Cape Cod Community College Police (“Campus Police”) from March 2018 to February

2019. As an employee of the Campus Police, WATSON was issued an identification card that

listed him as “CAMPUS POLICE” and “FACULTY/STAFF.” As an Institutional Security

Officer III/Campus Police Dispatcher, WATSON neither carried a weapon nor did he have the

power to make arrests on campus.

       4.      Since approximately August 2018, WATSON has resided at 300 Nathan Ellis

Highway, TRLR #26, Mashpee, MA.

       5.      On August 2, 2018, WATSON received an email from Plymouth Police

Academy’s Basic Reserve Intermittent Program which indicated he had been accepted in Class

19-01. 1 According to WATSON, he was only sponsored for the Academy by the Campus Police

Chief and there was no promise of employment, nor did he have a job as a police officer waiting

for him upon his graduation.




       1
        Attending this program does not guarantee future employment as a police officer.
However, these programs require that a department sponsor a student prior to admittance.
Attendance in these types of programs does not confer any police power upon the student.

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                       FACTS ESTABLISHING PROBABLE CAUSE

       6.      On July 18, 2018, WATSON emailed an employee at Interstate Arms, inquiring

about purchasing a Glock pistol. On August 13, 2018, the employee replied and asked him if he

had “powers of arrest while off campus.” That day, WATSON replied, “No ma’am.” The same

day, she emailed back that “to own a Glock in the state of Massachusetts, you have to have

powers of arrest on and off duty.” WATSON replied, “Thank you, I will check with my friends

over at Cape Gun Works.” 2

       7.      On or about August 26, 2018, a manager at Cape Cod Gun Works, located at 96

Airport Road, Hyannis, MA 02601, called WATSON to inform him that a Glock, Model 22,

GEN4, .40 caliber pistol, serial number BARR530 (“BARR530”) that WATSON had ordered

from Atlantic Tactical was available for pickup. The manager asked if WATSON was a law

enforcement officer and WATSON replied that he was a police officer.

       8.      On August 26, 2018, WATSON went to Cape Cod Gun Works to pick up

BARR530. Before receiving the firearm, WATSON provided his Cape Cod Community College

identification card, which listed him as “CAMPUS POLICE” and “FACULTY/STAFF,” to the

manager. WATSON also completed a Public Safety Purchase Form and identified himself as an

Institutional Security Officer (ISO) III on the form.

       9.      Prior to November 17, 2018, WATSON called Bourne Bridge Guns and Ammo,

Inc., located at 260 Buzzards Bay, MA 02532. During the call, he spoke with the store’s

operator, who informed him that only law enforcement officers with the power to conduct arrests




       2
          Under state law, Massachusetts firearms dealers may not sell new Glock firearms to
civilians. In addition, one of the forms required to purchase a Glock firearm specifically inquires
about arrest powers.

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could purchase Glock Model 26 firearms. WATSON said he was a police officer with authority

to make arrests.

       10.     On November 17, 2018, WATSON came to Bourne Bridge Guns and Ammo, Inc.

with his girlfriend and spoke with a sales manager. His girlfriend told the sales manager that she

was WATSON’s boss and WATSON had authority to make arrests. WATSON identified

himself as a police officer to the sales manager.

       11.     WATSON then purchased a Glock, Model 26, GEN4, 9mm pistol, serial number

BFGH791 (“BFGH791”) for $425.00. WATSON completed ATF Form 4473. On Section A,

Question 2 of that form, WATSON wrote that his residential address was 11 Tasmania Drive,

Yarmouthport, MA. Question 11.a of that form asks, “Are you the actual transferee/buyer of the

firearm(s) listed on this form?” and states, “Warning: You are not the actual buyer if you are

acquiring the firearm(s) on behalf of another person. If you are not the actual buyer, the dealer

cannot transfer the firearm(s) to you.” WATSON answered “Yes” to Question 11.a.

       12.     WATSON provided his Cape Cod Community College identification card, which

listed him as “CAMPUS POLICE” and “FACULTY/STAFF,” to the sales manager. WATSON

also completed an AmChar Wholesale, Inc. Certification Letter and indicated he was purchasing

BFGH791 for “on or off duty use” and not “for resale.” WATSON also completed a Glock

LE/Military/Federal Purchase Program Credentials Certification Form, and listed himself as

“Campus Police.” WATSON also identified himself as an Institutional Security Officer (ISO) III.

       13.     According to a Firearms Sales Inquiry run through the Commonwealth of

Massachusetts Department of Criminal Justice Information Services, WATSON transferred the

Glock Model 26, serial number BFGH791 to his girlfriend on December 19, 2018.




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       14.     On January 28, 2019, I interviewed WATSON. During questioning, WATSON

acknowledged he used his Cape Cod Community College identification card when he purchased

both Glocks (serial numbers BARR530 and BFGH791). He stated he used that ID because he

did not think he could purchase the firearms without it. WATSON ultimately acknowledged that

it was his feeling that being in the Plymouth Police Academy was not sufficient to allow him to

purchase Glock firearms. In a subsequent interview on the same date, he acknowledged that if

the firearms sellers had understood he was not a police officer with arrest powers, they would not

have sold him the firearms.

       15.     During the January 28, 2019 interview, WATSON stated the address he provided

on Form 4473, for the purchase of the Glock Model 26, serial number BFGH791—11 Tasmania

Drive, Yarmouthport, MA—was not his residential address at the time of the purchase.

       16.     During the January 28, 2019 interview, WATSON also acknowledged that he

knew his girlfriend, a civilian, could not purchase a Glock Model 26 herself. He admitted that he

purchased the firearm for his girlfriend and never had any intention of keeping it for himself.

       17.     During the January 28, 2019 interview, WATSON further acknowledged that he

would have purchased an additional Glock firearm for a classmate at the Plymouth Police

Academy, if WATSON had not been limited to buying two Glock firearms per calendar year.

       18.     On January 28, 2019, I also interviewed WATSON’s girlfriend. She stated that

WATSON purchased the Glock Model 26, serial number BFGH791 for her because she could

not purchase it herself. She also admitted that she planned the purchase with WATSON in

advance and accompanied him to Bourne Bridge Guns and Ammo, Inc., when he purchased the

firearm.




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                                         CONCLUSION

       19.     Based on the information contained in this Affidavit, all of which is true and

accurate to the best of my knowledge, information and belief, I have probable cause to believe

that, on August 28, 2018 and November 17, 2019, WATSON violated 18 U.S.C. § 922(a)(6).

       20.     I, Brian P. Higgins, having signed this Affidavit under oath as to all assertions

contained herein, state that its contents are true and correct to the best of my knowledge,

information and belief.

       Sworn under the pains and penalties of perjury,


                                                      ___________________
                                                      Brian P. Higgins
                                                      Special Agent, ATF


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Subscribed and sworn before me on April __, 2019

______________________________________________
The Honorable Page M. Kelley
United States Magistrate Judge




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